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1     UNITED STATES DISTRICT COURT
      WESTERN DISTRICT OF NEW YORK
2     _____________________________________                    23-mj-05095
      UNITED STATES OF AMERICA
3
                     vs.                              NOTICE OF MOTION AND
4                                                       MOTION TO MODIFY
      FRANK NOESON,                                   CONDITIONS OF RELEASE
5                           Defendant.
      _____________________________________
6

7

8            PLEASE TAKE NOTICE, that the undersigned, MARK J. BYRNE, ESQ.,

9    attorney for the Defendant upon all the papers and proceedings heretofore had

10   herein, hereby moves the Court to MODIFY THE DEFENDANT’S CONDITIONS

11   OF RELEASE.

12                                       AFFIRMATION

13           MARK J. BYRNE, ESQ., an attorney at law, pursuant to 28 U.S.C.

14   §1746(2), declares the following under penalty of perjury:

15   1)      I represent the defendant, FRANK NOESON, in the above-entitled action

16   brought by the United States of America and as such am familiar with the facts and

17   circumstances of the case.

18   2)      On May 2, 2023, a detention hearing was held, and the Court imposed

19   conditions of release, inter alia, the Defendant not having contact with his minor

20   son.

21   3)      The Defendant has been compliant with all his conditions.

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1    4)     On June 2, 2023, Child Protective Services conducted an investigation and

2    determined that the allegation of abuse or maltreatment was unfounded. That

3    finding is under seal, but a copy was provided to the Government.

4    5)     The Defendant’s son has been engaged in mental health treatment to cope

5    with his inability to see his father; removing the stay-away condition would allow

6    this process to be much more comfortable for him.

7    6)     AUSA Aaron Mango has indicated that the Government has no objection to

8    the relief requested in this motion.

9    7)     Furthermore, United States Probation Officer Michael Macaluso has

10   indicated that the Probation Officer does not object to modifying the condition.

11   8)     Therefore, it is respectfully requested that the Court modify the conditions of

12   release by removing the no contact order regarding Defendant’s son and permitting

13   him access under adult supervision through Defendant’s wife.

14           WHEREFORE it is respectfully requested that the Court grant an Order
     setting modifying the conditions of release, allowing the Defendant supervised visits
15   with his son.

16
     Buffalo, New York
     August 14, 2023
17
                                                       Respectfully Submitted,
18
                                                       /s/ Mark J. Byrne
                                                       ___________________________
19
                                                       MARK J. BYRNE, ESQ.
                                                       561 Ridge Road
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                                                       Buffalo, New York 14218
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21
     TO:    AARON MANGO
            Assistant United States Attorney
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